 

 

p_»

O\OOO\IO\UI-I>WN

NNNNNNN[\)[\)»-*»-*>-‘>->-‘»-‘>-¢r-\»_\»-d
OO\IO`\Ul-I>L)JN)-‘C\DOO\]O\§A-PL»)[\)»-\

CaSe 09-28215 Filed 07/28/09 DOC 54

 

FlLED

 

PosTED oN wEBsITE
NoT FoR PUBLICATIoN JUL 2 3 2009

 

 

 

 

EUN|TED STATES BANKRUPTCY OOURT

UNITED STATES BANKRUPTCY COUR EASTEHN DlsTchoFcALlFoRNlA

 

EASTERN DISTRICT OF CALIFORNIA

In re: Case No. 09-28215~D-13L

Docket Control Nos. RTD-l,
NLE-l

Robert Darryl Maxwell and
Rebecca Marie Maxwell,
Date: July 7, 2009
Time: 1:00 p.m.
Dept: D

Debtors.

`./`./VVV`_/V

 

 

lThis memorandum decision is not approved for publication and may

not be cited except when relevant under the doctrine of law of
the case or the rules of claim preclusion or issue preclusion.

MEMORANDUM DECISION

On April 28, 2009, the debtors herein, Robert Darryl Maxwell
and Rebecca Marie Maxwell (“the debtors”), filed their petition
Commencing this case, along with a proposed chapter 13 plan (“the
plan”). On June 10 and June 11, 2009, respectively, the chapter
13 trustee, Lawrence J. Loheit (“the trustee”), and creditor The
Golden 1 Credit Union (“the Credit Union”) filed timely
objections to confirmation of the plan (“the Objections”). For
the reasons set forth below, the court will sustain the
Objections.

I. INTRODUCTION

In the plan, the debtors propose to pay $550 per month for
60 months, which will yield nothing for general unsecured
creditors. Because the plan does-not propose a 100% dividend to
unsecured creditors, and because the trustee and the Credit
Union, as the holder of an unsecured claim, have objected, the

plan must provide that all the debtors' projected disposable

 

O\OOO\]O\&/\-I>L)JN*-‘

[\.) [\.) N N l\.) [\.) l\.) l\) [\.) »-1.»-¢ »-\ r-¢ r-¢ »-¢ »_¢ »_a ,_a p._¢
QO\IO\LIIAW[\.)v-‘C>\OOO\IO\U`|-PWN*_‘

 

 

CaSe 09-28215 Filed 07/28/09 DOC 54

income to be received during the applicable commitment period
will be applied to make payments to unsecured creditors under the
plan. 11 U.s.C. § 1325(b)(1).1

The issue is whether the debtors have projected disposable
income, as defined in § 1325(b)(2), thus allowing confirmation
only if their plan provides for a dividend to the unsecured
creditors, as §1325(b)(l)(B) requires.

IIJ ANALYSIS

The answer derives from an analysis of the debtors' Chapter
13 Statement of Current Monthly Income and Calculation of
Commitment Period and Disposable Income, Form B22C, filed April
28, 2009 (“Form B22C” or “B22C”). The Credit Union and the
trustee contend that the debtors used inappropriate figures in
the B22C, and that when the figures are corrected, the debtors
have disposable income, and thus, must provide for payments to
unsecured creditors.
A. Deduction for Business Expenses

The Credit Union and the trustee originally objected to the
$1,850 business expense deduction on line 3b2 of the Form B22C on
the ground that the debtors had failed to file an itemization of
those expenses. Although the J-schedule clearly requires a
detailed itemization, the debtors failed to include one with

their original schedules, but finally filed one only after the

 

1. Unless otherwise indicated, all Code, chapter, section
and Rule references are to the Bankruptcy Code, 11 U.S.C. §§ 101-
1532, and to the Federal Rules of Bankruptcy Procedure, Rules
1001-9037.

2. Unless otherwise noted, all references to particular
line items will refer to the line items on the Form B22C,

_ 2 _

 

\OOO\IO\L/ILWN¢_»

[\)[\)[\)[\)[\)[\)[\.)[\,)[\_)>-¢>_a¢-¢-¢»_¢»-\>-¢r-‘r-¢)-¢
OO\IO\L/t-AWNI-‘O\OOC\IO\L/r-LL»JN#-‘O

 

CaSe 09-28215 Filed 07/28/09 DOC 54

Objections were filed. The itemization lists the expenses of
Mrs. Maxwell's pet grooming business.

The court gave the Credit Union and the trustee an
opportunity to respond to the itemization, and the court has
considered their responses. The court finds that the vehicle and
internet deductions, $180 and $48, respectively, appear to be
duplicative of the household expenses deducted later in the Form
B22C. The court rejects the Credit Union's additional argument,
that the $30 repair and maintenance expense is duplicative of a
household expense, and finds instead that such an expense appears
reasonable for the business.

The court finds persuasive the Credit Union's analysis of
the debtors' business expenses, as listed on the detailed
itemization, as contrasted with their business expenses, as
listed on the Schedule C to their 2008 tax return. The former
total $1,850, the latter, $1,319.73. While the debtors have not
had an opportunity to respond to this analysis, that is a
situation of their own making. Had they filed the detailed
itemization with their J-schedule, as required, the Credit Union
could have presented its argument in its objection to
confirmation, and the debtors could have responded.

Absent an explanation of the discrepancy, the court will
allow the business expenses claimed as deductions on the debtors'

tax return, $1,319.73, as a starting point.3 The court will

 

3. The court notes also that the debtors are projecting
lower income from the business on a go-forward basis than they
actually made in 2008. Compare the debtors' I-schedule with
their Statement of Financial Affairs, answer to question 1.

(continued...)

 

O\OOO\IO\{JI-AWN»_¢

l\)[\)[\.)[\.)[\_)[\)[\.)[\)[\)»-¢»-¢)-)-‘»-¢>-¢)-d)-»»-»-o
OC\IO\§/\-AWNo-‘O\OOO\IO\UIJ>~L)JN¢-‘

 

CaSe 09-28215 Filed 07/28/09 DOC 54

deduct from that figure the $151.16 vehicle expense and the $48
internet expense as duplicative of the debtors' household
expenses. This leaves $1,120.57 in business expenses the court
will allow, which is $729.43 less than the amount claimed,
$1,850. Thus, the court will add $729 to the debtors' Monthly
Disposable Income (“MDI”) on line 59 of the Form B22C.

The Credit Union also argues that the debtors have
improperly deducted their business expenses “above the line” on
the Form B22C; that is, in computing current monthly income,
contrary to Drummond v. Wiegand (In re Wieqandl, 386 B.R. 238
(9th Cir. BAP 2008). The Wiegand panel held that business
expenses must be deducted from current monthly income, in
computing disposable income, rather than from gross receipts, in
computing current monthly income. Wiegand at 242. Thus, the
panel concluded that the Form 22C should be revised. ;Q. at 243.

In this case, the deduction of the business expenses “above
the line;” that is, in computing current monthly income, did not
result in placing the debtors below the median income, nor did
the debtors attempt to deduct the expenses as a whole both above
and below the line. Thus, the concerns raised in Wiegand (§§§
Wiegand at 241) are not present in this case, and the court
concludes that it is irrelevant where the debtors took the
deduction, except that they appear to have deducted the vehicle

and internet expenses twice, as discussed above.

///

 

3.(...continued)
Absent an explanation, the projection of business expenses at
$500 per month higher than as reported on their 2008 tax returns
is not reasonable.

 

 

C>\OOO\]O\Ul-I>WN»-¢

[\)[\.)I\.)N[\.)[\)[\)l\)[\.))-¢)-¢r-¢v-¢)-¢r-¢»-¢»-¢»-¢»-¢
OC\IO\UI-I>L)Jl\)'-‘O\OOO\]O\Ul-I>~L»JN'-‘

 

CaSe 09-28215 Filed 07/28/09 DOC 54

Finally, the Credit Union raised for the first time in its
response the suggestion that Mrs. Maxwell's business income may
be understated on the Form B22C. Thus, the Credit Union argues
that $300 should be added to the debtors' MDI. However, although
the amount of the business income appears on the detailed
itemization of business expenses, that figure and the rest of the
information tending to support this argument were available to
the Credit Union when it originally filed its Objection. As the
Credit Union failed to raise the argument at that time, the court
will not consider it now.

B. Deduction for “Two Old Cars”

Both the Credit Union and the trustee object to a $400
deduction for “two old cars” as a housing and utilities
adjustment on line 26. They point out that the debtors also
deducted transportation expenses for two cars on line 27A and
ownership expenses for two cars on lines 28 and 29. The debtors
listed only two cars on their B-schedule -- a 2003 Ford Explorer
and a 2003 Ford F-250. The two old cars were not disclosed.

The debtors' only response to these (and other) objections
is that they “very much disagree,” but that even if these
objections were sustained, the debtors' disposable income on the
B22C would still be zero, rendering the objections irrelevant.4

Because the debtors have failed to offer an argument or
evidence to the contrary, the court will presume the debtors

concede the point. Further, a deduction for “two old cars” as a

 

4. Opposition to Trustee's Objection to Confirmation, filed
July 2, 2009, 2:18-27; Opposition to Objection to Confirmation by
Golden One, filed July 2, 2009, 2:3-15.

 

 

CaSe 09-28215 Filed 07/28/09 DOC 54

housing or utilities expense makes no sense. Accordingly, the
court will add $400 to the MDI.
C. Deduction for Taxes

The Credit Union objects to the $1,200 deduction on line 30
of the Form BZZC for income, self-employment, social security,
and Medicare taxes. The Credit Union points out that the
debtors' actual federal tax liability for 2008 was $6,351, and
their state tax liability was $807, for a total of $7,158, or
$596.50 per month,§' The Credit Union adds $101 for Medicare
taxes (based on Mr. Maxwell's 2008 income of $83,864 as listed in
the Statement of Financial Affairs), bringing their total tax
liability to approximately $700 per month, or $500 less than the
$1,200 listed on the Form B22C.

The debtors again present no argument or evidence in
response, except to “very much disagree.” The court will treat
this response as a concession, and therefore, will add $500 to
the debtors' MDI.

D. Deduction for Involuntary Deductions for Employment

The Credit Union objects to the $600.55 figure for
involuntary deductions such as mandatory retirement contributions
and union dues, on line 31, as being inconsistent with the
debtors' schedules and tax return. On their I-schedule, the
debtors listed $378.19 as a monthly PERS deduction and $84.87 in

monthly union dues, On their 2008 tax returns, they listed $900

 

5. A comparison of the debtors' I~ and J-schedules with
their 2008 income, as reported on the Statement of Financial
Affairs, shows that they are projecting a lower income this year
than last, and thus, their tax liability may reasonably be
assumed to be no higher than last year.

_5_

 

O\DOO\IO\Ul-wao-¢

N[\)[\)[\)[\)[\)N[\)|\)o-¢>-¢»-¢»-¢~_a»_a>_¢»-¢o-oo-
OO\IO\L/l-I>L)JN*-‘O\DOO\IO\UIJ>WN»-‘

 

CaSe 09-28215 Filed 07/28/09 DOC 54

for union dues, or $75 per month. Thus, the correct deduction
appears to be $453 ($378 + $75), or $147 less than the debtors
claim on line 31.

In the absence of any explanation other than that they “very
much disagree,” the court will add $147 to the debtors' MDI.

E. Deduction for Health Care Expenses

The Credit Union objects to the $130 deduction on line 36
for health Care expenses not reimbursed by insurance, arguing
that the figure is excessive. The debtors offer only the
ubiquitous response that they very much disagree.

However, the objection is too vague to be convincing, and
the court finds that $130 is not excessive for a family of two.6
F. Deduction for Extra Telecommunications Services

The Credit Union and the trustee object to the $200
deduction on line 37 for necessary telecommunications services
other than basic home telephone and cell phone services. The
debtors offered no explanation or itemization of this expense at
the meeting of creditors.7 Further, the debtors' J-schedule
includes $205 for cable, internet, and cell phones, and the Form

B22C includes a housing and utilities expense on line 25A.

 

6. The $130 figure is actually lower than the $250 in
medical and dental expenses listed on the debtors' J-schedule.

The court rejects the Credit Union's argument that the
deduction is not appropriate because the debtors listed no

'deduction for medical expenses on Schedule A of their tax

returns. Medical expenses listed on that schedule are meaningful
to the tax return only if the total exceeds a significant
percentage of the debtors' adjusted gross income. The absence of
a figure on that schedule, therefore, does not support a
conclusion that the taxpayer had no medical expenses.

7. Declaration of Roxanne Daneri, filed June 11, 2009.

_.'7_

 

!\.)

\OOO\]O\U!-bb)

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

CaSe 09-28215 Filed 07/28/09 DOC 54

The debtors “very much disagree” with the trustee and the
Credit Union, but offer no substantive response, Thus, the court
will sustain the objections and add $200 to the debtors' MDI.

G. Deduction for Medical and Disability Insurance Premiums

The debtors deduct $693 on line 39 for “insurance premiums.”
The Credit Union objects to this amount, noting that $693 is
approximately double the amount of the deductions on the debtors'
2005 paystubs, which are the only paystubs the Credit Union has
been able to review.

The debtors had an opportunity to refute this argument with
more recent paystubs or with their own testimony, but they have
offered nothing. Accordingly, the court will add one-half of
$693, Or $346, to the MDI.

H. Deduction for Contributions to the Care of Familv Members

The Credit Union and the trustee object to the $300
deduction on line 40 for the care of household or family members.
The debtors' testimony at the meeting of creditors was that they
help Mr. Maxwell's mother when they can and in varying amounts.
Thus, the argument goes, this is not a regular and necessary
payment.

The debtors counter with Mrs. Maxwell's testimony that they
spend an average of $300 per month for groceries and medicine for
Mr. Maxwell's mother, who is in her late 60's, is widowed, and
has Social Security as her only source of income.

This testimony sufficiently supports the conclusion that
this is an actual expense that is “reasonable and necessary for
care and support of an elderly . . . member of the debtor's

immediate family . . . who is unable to pay for such

_8_

 

\OOO\]O\Ul-|>~W[\)

10
ll
.12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

CaSe 09-28215 Filed 07/28/09 DOC 54

expenses.”8
I. Deduction for Future Pavments on Secured Claims

The debtors deduct $314 and $41, respectively, on lines 47
and 48 for ongoing payments to the Credit Union on account of its
second deed of trust on the debtors' residence.

The Credit Union argues that because the debtors seek to
strip off the deed of trust as wholly unsecured (a motion the
Credit Union has not opposed), they are not entitled to these
deductions. The trustee makes the same argument, citing Thissen
v. Johnsonl 2009 U.S. Dist. LEXIS 46618 (E.D. Cal. May 26, 2009).

The debtors apparently concede the point, arguing only that
they “very much disagree.” Thus, the court will add $314 and
$41, a total of $355, to the MDI.

III. COMPUTATION

Based on the foregoing, the court makes the following
adjustments to the debtors' MDI:

<$1,878> MDI per the Debtors (Form B22C, line 59)

+ 729 Business expenses (line 3b)

+ 400 Two old cars (line 26)

+ 500 Taxes (line 30)

+ 147 Employment deductions (line 31)

+ 200 Telecom services (line 37)

+ 346 Health insurance premiums (line 39)

+ 355 Future payments on secured claims (lines 47 & 48)

$ 799 Adjusted MDI

 

8. § 707(b)(2)(A)(ii)(II), incorporated by § 1325(b)(2),

 

 

\OCO\]O'\Ul-PL»J[\)>-¢

NNNN[\)NNN[\)r-\»-¢)-¢v-o-I>-»->-¢>_a»_a
OO\!O'\U\~BL»JN'-‘O\OOQ\!O'\L/l-I>W[\)P-*O

 

CaSe 09-28215 Filed 07/28/09 DOC 54

lyi_QQN§LQ§lQN

Payment of $799 per month over the 60-month plan term would
generate $47,940 for unsecured creditors. Because the plan fails
to provide for such a dividend, it does not provide that all the
debtors' projected disposable income to be received during the
applicable commitment period will be applied to make payments to
unsecured creditors under the plan, as required by § 1325(b)(1).
Accordingly, the court will sustain the Objections. The court
will issue an appropriate order.

Dated= July@_?, 2009 /Z/LW/cBa/¢M

ROBERT S. BARDWIL
United States Bankruptcy Judge

`-10-

 

CaSe 09-28215 Filed 07/28/09 DOC 54

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this
certificate is attached was mailed today to the following
entities listed at the address shown on the attached list or
shown below.

seeahached|wf

_ 1 _ €:épbbuTéc_,
DATED; ;7/28/09 x '. , By; @L]H/W

Deputy Clerk

 

thmewm

EDc 3-070 (New 4/21/00)

ease 09-23215 Filed 07/28/09 Doc 54 Pag@ l Ofl

    
 

ls document does not cons '

-` beparate Notice of

 

Roxanne Daneri Scott CoBen Lawrence Loheit
555 University Ave #114 1214 F St PO Box 1858
Sacramento, CA 95825 Sacramento, CA 95814 Sacramento, CA 95812-1858

Off`lce of the U.S. Trustee

Robert T Matsui United States Courthouse
501 I Street, Room 7-500

Sacramento, CA 95814

http://www.caeb.circ9.dcn/WebAddresS/weblabels_print.asp‘?ck1=1&ckZ=Z&ck8=8&ck9=9... 7/28/09

